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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

  ROGER TODD,                                            )
                                                         )
                                Plaintiff,               )
                                                         )
                           v.                            )      No. 2:19-cv-00085-JMS-DLP
                                                         )
  OCWEN LOAN SERVICING, INC.,                            )
  DEUTSCHE BANK NATIONAL TRUST                           )
  CO., as Trustee for NovaStar Mortgage                  )
  Funding Trust, Series 2007-1,                          )
                                                         )
                                Defendants.              )

                                                ORDER

         This matter comes before the Court on the Plaintiff’s Motion to Compel and

  for an Order Imposing Sanctions, Dkt. [66]. The motion was referred to the

  Undersigned for ruling and, for the reasons that follow, is hereby GRANTED IN

  PART and DENIED IN PART.

         I.    Background

         Plaintiff, Roger Todd, holds a mortgage loan with NovaStar Mortgage, Inc.

  (“the Loan”). The Loan is held in trust by Defendant Deutsche Bank National Trust

  Co., and is serviced by Defendant Ocwen Loan Servicing, Inc 1 (“Ocwen”). On March

  2, 2011, Plaintiff filed for bankruptcy in the Southern District of Indiana, in order to

  cure all pre-petition defaults on the Loan. Plaintiff entered into a Chapter 13



  1The Defendant consistently notes in filings that the Plaintiff improperly sued “Ocwen Loan
  Servicing, Inc.,” when the entity’s proper name is “Ocwen Loan Servicing, LLC.” The Defendant,
  however, has yet to file a motion to correct the caption, so the Court will use the Defendant’s name
  as it appears on the docket at this time.

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  repayment plan and made his last payment on the Loan on May 2, 2016. (Dkt. 40 at

  10-11). The trustee and Ocwen agreed that Plaintiff had cured his pre-bankruptcy

  petition default and on July 23, 2016, the bankruptcy plan was discharged, and the

  Loan was reinstated according to the original terms. (Dkt. 40 at 11).

        In June 2018, the Plaintiff obtained a copy of the loan mortgage transactional

  history for the Loan from Ocwen. (Dkt. 40 at 12). Plaintiff alleges that upon review

  of this history, he discovered “a myriad of unexplainable and errant servicing

  conduct.” (Id). This allegedly improper servicing conduct led to the instant case,

  wherein the Plaintiff alleges violations of the Real Estate Settlement Procedures

  Act (“RESPA”), the Fair Debt Collection Practices Act (“FDCPA”), the Fair Credit

  Reporting Act (“FCRA”), the Telephone Consumer Protection Act (“TCPA”), the

  Indiana Deceptive Consumer Sales Act (“IDCSA”), the Indiana Crime Victims’

  Relief Act (“ICVRA”), and the Truth in Lending Act (“TILA”). (See Dkt. 40).

        During the discovery process in this action, Plaintiff has requested that the

  Defendant produce various documents that the Defendant has objected to

  producing. The parties met and conferred regarding this issue and discussed it with

  the Court during telephonic discovery conferences conducted on October 30, 2019

  and November 7, 2019. With the Court’s permission, the Plaintiff filed the present

  Motion to Compel and for an Order Imposing Sanctions on November 20, 2019. The

  Defendant filed a response on December 11, 2019, and the Plaintiff filed a reply on

  December 25, 2019. (Dkts. 78, 95).




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        II.   Legal Standard

        Discovery is a mechanism to avoid surprise, disclose the nature of the

  controversy, narrow the contested issues, and provide the parties a means by which

  to prepare for trial. 8 Wright & Miller, Federal Practice and Procedure § 2001, at 44-

  45 (2d ed. 1994). To effectuate these purposes, the federal discovery rules are

  liberally construed. Spier v. Home Ins. Co., 404 F.2d 896 (7th Cir. 1968). See also 8

  Wright & Miller, Federal Practice and Procedure § 2001, at 44 (2d ed. 1994).

        Rule 26 of the Federal Rules of Civil Procedure permits the discovery of

  nonprivileged matter “that is relevant” to a party’s claim or defense and

  “proportional” to the needs of a case, considering the importance of the issues at

  stake, the importance of the discovery in resolving those issues, the amount in

  controversy, and the weighing of burdens and benefits. See Rule 26(b)(1). “Discovery

  must hew closely to matters specifically described in the complaint lest discovery,

  because of its burden and expense, become the centerpiece of litigation strategy.”

  McCartor v. Rolls-Royce Corp., No. 1:08-cv-00133-WTL-DML, 2013 WL 5348536, at

  *7 (S.D. Ind. Sept. 24, 2013).

        A party may seek an order to compel discovery when an opposing party fails

  to respond to discovery requests or provides evasive or incomplete responses. Fed.

  R. Civ. P. 37(a)(2)-(3). The party opposing a motion to compel has the burden to

  show the discovery requests are improper and to explain precisely why its objections

  are proper given the broad and liberal construction of the federal discovery rules. In

  re Aircrash Disaster Near Roselawn, Inc. Oct. 31, 1994, 172 F.R.D. 295, 307 (N.D.



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  Ill. 1997); Cunningham v. Smithkline Beecham, 255 F.R.D 474, 478 (N.D. Ind.

  2009).

           Rule 26(b)(2)(C) requires the Court to limit the extent of discovery if it finds

  that “the discovery sought is unreasonably cumulative or duplicative, or can be

  obtained from some other source that is more convenient, less burdensome, or less

  expensive; ... or ... is outside the scope permitted by Rule 26(b)(1).” Fed. R. Civ. P.

  26(b)(2)(C)(i)-(iii). Federal Rule 26(b), describing the scope and limits of discovery,

  was amended effective December 1, 2015, to once again protect against over-

  discovery and to emphasize judicial management of the discovery process. United

  States ex rel. Conroy v. Select Med. Corp., 307 F. Supp. 3d 896 (S.D. Ind. 2018).

  Magistrate judges enjoy extremely broad discretion in controlling discovery. Jones v.

  City of Elkhart, Ind., 737 F.3d 1107, 1115 (7th Cir. 2013).


           III. Discussion

           Plaintiff indicates that Defendant Ocwen used a software-based servicing

  system, called REALServicing, that was subject to various failings. (Dkt. 67 at 2). In

  the normal course of business, he argues, Ocwen maintained spreadsheets, called

  “Risk Convergence Reports,” that tracked regulatory violations and potential areas

  for risk with the REALServicing platform. (Dkt. 67 at 2). In his requests for

  production, Plaintiff sought these Risk Convergence Reports (“RCR”), and any email

  correspondence containing reference to specific issues identified within them,

  because they allegedly contain information relevant to establishing Ocwen’s

  knowledge, willful indifference, or deliberate violation of federal law. (Id). Finally,


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  Plaintiff notes that “this case is not merely about Todd’s loan or an unforeseeable

  error that could not have been avoided – it involves a knowing ‘pattern and practice’

  of mortgage servicing misconduct, Ocwen’s refusal to address both curable and

  incurable deficiencies known to exist with regard to REALServicing and having the

  effect of creating manufactured states of default generally and with regard to Todd’s

  loan specifically and, thus, willfully indifferent conduct.” (Dkt. 67 at 3). Specifically,

  Plaintiff requested “all Risk Convergence Reports created between January 1, 2014

  and August 31, 2016.” (Dkt. 67-11 at 2). Additionally, the Plaintiff also requested all

  email correspondence from any employee of Ocwen between January 1, 2013

  through today that contain twelve specific key words.

        Defendant argues in response that the Plaintiff’s requests are overly broad,

  unduly burdensome, not proportional to the needs of the case, seek information not

  relevant to the claims or defenses in this matter, seek information protected by the

  self-critical analysis privilege, and seek information protected by Federal Rule of

  Evidence 408. (Dkt. 78 at 2). The Plaintiff reiterates in reply that the requests are

  relevant, proportional, narrowly tailored, and not protected by any privilege. (Dkt.

  95 at 2-5). The Court will address the Plaintiff’s request to compel RCR and email

  correspondence separately.

        A. Risk Convergence Reports

        As noted above, Plaintiff contends that “Ocwen tracks its regulatory

  violations, risk areas, and other failures in spreadsheets called ‘Risk Convergence

  Reports.’” (Dkt. 67 at 2). These RCRs allegedly contain information about



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  REALServicing failures and limitations, including “the handling of loans involved

  in a Chapter 13 bankruptcy, the investigation and correction of consumer credit

  reporting disputes, payment misapplications, and the assessment of inappropriate

  fees and costs.” (Id). The Defendant contends that the discovery request seeking

  RCRs asks for irrelevant information, is overly broad and not proportional to the

  needs of the case, is protected by the federal evidence rules, and is protected by the

  self-critical analysis privilege. (Dkt. 78 at 3-12). Because it is the Defendant’s

  burden to prove the discovery request improper, the Court will address each of the

  Defendant’s objections to production in turn.

              i.   Relevance

        The Defendant asserts that irrespective of whether it tracked potential

  regulatory violations through an RCR, that fact does not relate to the claims in this

  case, namely that the Defendant allegedly violated various state and federal

  statutes with respect to the Plaintiff’s loan. (Dkt. 78 at 4). Ocwen further argues

  that the Plaintiff’s request for all RCRs dating back to January 2014 will, by

  definition, have nothing to do with the present case because the RCRs are a “global

  self-analysis of Defendant’s operations” and “not loan specific.” (Id. at 5).

        The Plaintiff argues that the RCRs are relevant to the claims in this matter

  because they are central to “establishing Ocwen’s knowledge of systematic problems

  with its servicing platform RealServicing and the wholesale absence of procedures

  necessary to ensure compliance with the federal consumer protection laws

  implicated herein.” (Dkt. 67 at 7). Specifically, these reports would help establish


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  the “willful” element of the FCRA, a pattern or practice of noncompliance for the

  RESPA, an incurable deceptive act for the IDCSA, the “knowingly or intentionally”

  element of the ICVRA, the knowledge element of the discharge injunction and

  automatic stay, and the “knowing or willful” element of the TCPA. (Dkt. 67 at 8).

        The Court tends to agree with the Plaintiff. As part of his claims under

  various state and federal laws, he must demonstrate that Ocwen had knowledge

  that various violations would or could occur and that, despite that knowledge, it did

  not act to prevent those violations. Plaintiff has explained numerous times, over

  repetitious discovery conferences, that, if provided, the RCRs will be used to show

  that Ocwen was aware of the widespread problems related to the REALServicing

  platform, had been aware for a significant period of time, and had not engaged in

  the appropriate corrective behavior. Accordingly, the Court finds that the Plaintiff’s

  request for the RCRs is relevant.

             ii.   Proportionality

        The Defendant next argues that the Plaintiff’s request for all RCRs between

  January 1, 2014 and August 31, 2016 is overly broad and not proportional to the

  needs of this case. (Dkt. 78 at 6-7). Ocwen further notes that the request seeks

  RCRs dating back to more than five years before the present suit was filed, almost

  three years before the termination of Plaintiff’s bankruptcy, and more than four

  years before Plaintiff’s first correspondence with the Defendant. (Id). Defendant

  concludes, therefore, that the Plaintiff’s discovery request “goes well beyond the




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  scope of permissible discovery under Rule 26 of the Federal Rules of Civil

  Procedure.” (Id).

         The Plaintiff contends that the discovery request is sufficiently narrowly

  tailored. (Dkt. 67 at 17). Given “the CFPB’s description of Risk Convergence

  Reports, the limited number of spreadsheets at issue, and the ease of producing

  them electronically, the request simply cannot be construed more narrowly.” (Id).

  Moreover, Plaintiff argues, the request is proportional to the needs of the case when

  considering the relevant factors. (Id. at 18).

         Under Rule 26, the discovery sought must not only be relevant, but it must be

  “proportional” to the needs of the case, “considering the importance of the issues at

  stake in the action, the amount in controversy, the parties' relative access to

  relevant information, the parties' resources, the importance of the discovery in

  resolving the issues, and whether the burden or expense of the proposed discovery

  outweighs its likely benefit.” Motorola Sols., Inc. v. Hytera Commc'ns Corp., 365 F.

  Supp. 3d 916, 924 (N.D. Ill. 2019). Proportionality, like other concepts, requires a

  common sense and experiential assessment. See, e.g., BankDirect Capital Fin., LLC

  v. Capital Premium Fin., Inc., 326 F.R.D. 171, 175 (N.D. Ill. 2018) (“Chief Justice

  Roberts' 2015 Year-End Report on the Federal Judiciary indicates that the addition

  of proportionality to Rule 26(b) ‘crystalizes the concept of reasonable limits on

  discovery through increased reliance on the common-sense concept of

  proportionality.’”).




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        In looking to the importance of the issues at stake here, the Plaintiff argues

  that the issues of “systematic mortgage servicing errors resulting in manufactured

  states of default and wrongful foreclosure” could hardly be more important. (Dkt. 67

  at 18-19). Although the Defendant listed the relevant proportionality factors in its

  brief, it does not address or analyze them with respect to the RCRs. Thus, the Court

  must glean its arguments from the remaining portions of its brief. The Defendant

  seems to suggest that because the Plaintiff is one individual, with one mortgage

  loan, that the issues in this case are limited in importance. (Dkt. 78 at 4).

        As to the amount in controversy, the Plaintiff contends that his case is worth

  “in the millions of dollars.” (Dkt. 67 at 19). The Defendant does not appear to

  contest this valuation.

        Next, the Court considers the parties’ relative access to relevant information

  and the parties’ resources. The Defendant maintains sole access to the reports

  requested, and the information contained in those reports is not available to the

  Plaintiff through any other avenue. Similarly, the Plaintiff is one man, while the

  Defendant is a billion dollar, publicly traded corporation. Both the issue of access

  and resources weigh in favor of the Plaintiff.

        The Court must also contemplate the importance of the requested discovery

  in resolving the issues in the case. Here, the Defendant notes generally that liability

  only “hinges on whether Defendant improperly sought to collect amounts discharged

  in bankruptcy, failed to properly complete a bankruptcy reconciliation following the

  termination of the bankruptcy action, and failed to adequately respond to the



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   Correspondence Plaintiff alleges he submitted to Defendant from May 21, 2018

   through January 29, 2019.” (Dkt. 78 at 4). The Plaintiff, on the other hand, alleges

   that the requested information will lead to the Plaintiff establishing necessary

   elements of each statute under which he brings a claim against Ocwen, most of

   which involve Ocwen’s knowledge or notice of insufficiencies in the mortgage

   servicing process. The Court is inclined to agree with the Plaintiff.

         The Defendant is correct insofar as the case’s liability does hinge on whether

   it improperly engaged in actions related to Plaintiff’s mortgage loan and subsequent

   bankruptcy. The Defendant does not acknowledge, however, the importance of its

   own knowledge and notice of the deficiencies prior to the events alleged in Plaintiff's

   complaint. This discovery will address these necessary issues in the case.

         Finally, the Court must weigh the possible burdens of producing the

   information with the benefits elicited by its production. Based on the parties’

   briefing, the burden involved in producing the RCRs seems minimal at best. Fewer

   than 50 RCR spreadsheets exist that are readily available for Ocwen to produce.

   Thus, the benefit of the information, that it may prove necessary elements of the

   Plaintiff’s claim, outweighs the burden in producing the documents.

         In sum, the Defendant here relies on the ipse dixit that the Plaintiff’s

   discovery request is not proportional to the case, without providing any analysis or

   factual support to that assertion. As stated previously, the burden remains on

   Ocwen to support its objection that the Plaintiff’s request is not proportional to the

   needs of this case. The Defendant has not met that burden – accordingly, the



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   Plaintiff’s discovery request for the Risk Convergence Reports is proportional to the

   needs of this case.

                iii.     Federal Rule of Evidence 408

            The Defendant argues that the RCRs were prepared to track compliance with

   legal obligations under various consent decrees 2 that Ocwen entered into and,

   therefore, those RCRs are subject to protection by Federal Rule of Evidence 408.

   (Dkt. 78 at 7). Ocwen further notes that the consent decrees contained language

   making clear that Ocwen made no admission by entering into them and that they

   could not be used as evidence against Ocwen for any purpose. (Id. at 8). Defendant

   finally notes that, contrary to the Plaintiff’s contention, the Court may prohibit

   discovery of the RCRs under FRE 408. (Id. at 9).

            The Plaintiff argues that the Defendant is raising an evidentiary objection to

   the admission of certain documents into evidence, rather than raising a valid

   objection to discovery. (Dkt. 67 at 16). Furthermore, Plaintiff states: “it is important

   to again note the Risk Convergence Reports were prepared and kept in the ordinary

   course of business, not in anticipation of litigation. . . . Ocwen was using Risk

   Convergence Reports to monitor regulatory exposure before any particular

   regulatory action and they continue[d] to be created and utilized long after any

   particular regulatory action. (Dkt. 95 at 3-4) (emphasis original).



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    The consent decrees at issue in this case are: Settlement Agreement and Consent Order, In re: Ocwen Financial
   Corporation and Ocwen Loan Servicing, LLC, No. C-13-1153-14-C001, at 1-2 (Dec. 19, 2013) and Consent
   Judgment, Consumer Fin. Prot. Bureau v. Ocwen Fin. Corp., No. 13-2025 (RMC) (D.D.C. Dec. 19, 2013). The
   Plaintiff moved the Court for judicial notice of these decrees on April 26, 2019, and that request was denied on June
   25, 2019 for improper timing insofar as no dispute between the parties was presently pending before the Court.
   (Dkts. 21, 33).

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         The Defendant focuses much of its brief on whether consent decrees are

   subject to protection by FRE 408 – that, however, is not the issue here. The

   Plaintiff is not requesting the consent decrees in discovery, nor is he seeking to

   admit those consent decrees into evidence at this time. The cases cited by the

   Defendant largely reference parties’ attempts to use consent decrees at trial or as

   designated evidence in summary judgment motions. Again, that is not the situation

   here. The consent decrees do not mandate that Ocwen maintain RCRs – rather, it

   appears from the briefing that Ocwen prepared the RCRs for internal use in order

   to track and prevent any further issues that may result in a subsequent consent

   decree.

         The Undersigned has not been able to find any other Court in the country

   that has confronted the issue of whether RCRs are discoverable, let alone whether

   they are subject to protection by FRE 408. On this matter of first impression, the

   Court tends to agree with the Plaintiff. The RCRs, while potentially a result of the

   nationwide consent decrees, do not necessarily hinge on the terms of those decrees,

   nor do they reveal any confidential information from the settlement negotiation

   process. Instead, the RCRs appear to be spreadsheets created in the normal course

   of Ocwen’s business, in an attempt to track potential points of liability and forestall

   future regulatory action.

         Moreover, even if the RCRs did sufficiently relate to the consent decrees, the

   commentary to FRE 408 provides that the 2006 amendment “does not affect the

   case law providing that Rule 408 is inapplicable when evidence of the compromise is



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   offered to prove notice. See, e.g. United States v. Austin, 54 F.3d 394 (7th Cir. 1995)

   (no error to admit evidence of the defendant’s settlement with the FTC, because it

   was offered to prove that the defendant was on notice that subsequent similar

   conduct was wrongful).” As discussed above, the Plaintiff seeks the RCRs to prove

   that Ocwen was on notice that its loan-servicing practices, especially with regard to

   individuals who have a loan and declare bankruptcy, were inadequate and

   noncompliant with state and federal law. Accordingly, FRE 408 does not prohibit

   the Plaintiff from requesting and obtaining the RCRs in discovery.

              iv.   Self-Critical Analysis Privilege

          The Defendant’s final objection is that the Plaintiff’s discovery request is

   barred by the self-critical analysis privilege. (Dkt. 78 at 9). The Defendant urges the

   Court to protect its RCRs because forcing their production “would result in

   companies not conducting [a self-critical] analysis out of fear that any information

   from the analysis would be used against them in litigation.” (Id. at 11). Finally,

   Ocwen argues that the Plaintiff’s contention that the privilege is not recognized in

   this Circuit is false and misleading. (Id. at 12).

          The Plaintiff responds that the case law in the Seventh Circuit does not

   definitively establish the existence of the self-critical analysis privilege. (Dkt. 67 at

   11). Based on the fact that neither the district courts in the Circuit, nor the Seventh

   Circuit itself, have adopted the privilege, the Plaintiff urges this Court to similarly

   refuse to recognize the privilege. (Id. at 12).




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          The self-critical analysis privilege protects internal and confidential

   performance evaluations, internal investigations records, and other documents

   containing an organization’s self-critical analyses. Lund v. City of Rockford, No. 17

   CV 50035, 2017 WL 5891186, at *4 (N.D. Ill. Nov. 29, 2017). The rationale behind

   this privilege is that disclosing these documents will deter or suppress socially

   useful investigations and evaluations or compliance with the law, and that

   individuals and organizations will not candidly evaluate their compliance with

   regulatory or legal requirements out of fear of creating evidence that may be used

   against them. Id.

          The Defendant argues that the self-critical analysis privilege has been

   recognized by the Seventh Circuit and by courts within the Circuit, citing mainly to

   Tice v. American Airlines, Inc., 192 F.R.D. 270 (N.D. Ill. 2000). Tice begins the

   discussion by stating: “[a]ssuming that federal common law recognizes the self-

   critical analysis privilege . . . .” Tice, 192 F.R.D at 272. It also notes that the

   “parameters of the privilege, like the existence of the privilege itself, are rather

   vague.” Id. Contrary to the Defendant’s assertions, Tice does not provide affirmative

   proof that the privilege is recognized in this Circuit. The Defendant also cites to

   Coates v. Johnson & Johnson, 756 F.2d 524, 551 (7th Cir. 1985) for support in

   proving that the self-critical analysis privilege exists. This reliance, too, is

   misplaced. Coates held the limited view that the self-critical portions of affirmative

   action plans were privileged, but did not venture out into any wider realm of

   application. 756 F.2d at 551. A few years later, the Seventh Circuit revisited the



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   topic of privilege with regard to documents prepared for an intergovernmental

   agency tasked with assessing liability – in that case, the Seventh Circuit concluded

   that the self-critical analysis privilege has never been recognized in this Circuit.

   Burden-Meeks v. Welch, 319 F.3d 897, 899 (7th Cir. 2003).

         The court in Lund exhaustively examined the existence of the self-critical

   analysis privilege among all appellate courts and within the district courts of the

   Seventh Circuit. 2017 WL 5891186, at *11-12. That court concluded that no

   appellate court recognized the privilege, and that only a handful of cases within the

   Seventh Circuit had ever done so. Id. Furthermore, the Southern District of Indiana

   had not confronted this issue in any case. Id. Because the Seventh Circuit has

   explicitly declined to adopt the self-critical analysis privilege, the Undersigned

   concludes the same. Accordingly, the Plaintiff’s discovery request here could not be

   barred by a privilege that does not exist in this Circuit.

         The Undersigned has determined that the Plaintiff’s discovery request is

   relevant, proportional to the needs of the case, not protected by the Federal Rules of

   Evidence, and not protected by the self-critical analysis privilege. The Defendant

   must produce the requested documents within ten (10) days of this Order.

         B. Email Correspondence

         The Plaintiff also requests all email correspondence responsive to the

   following [non-exact] search terms: (1) Roger Todd; (2) 880 East Washboard Road;

   (3) Loan No. 711045244; (4) Metric Remediation; (5) Metric 1.A; (6) Metric 2.A; (7)

   Metric 2.B; (8) Metric 2.C; (9) Metric 4.C; (10) Metric 5.E; (11) Metric 5.A; (12)



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   Metric Failure; (13) QWR Responses; (14) IRG Testing Results; and (15)

   Bankruptcy Compliance. (Dkt. 67 at 5). The Plaintiff agreed to limit this request for

   all emails generated from January 1, 2013 through today (November 20, 2019). (Id).

   During the November 7, 2019 discovery conference with the Court, the parties

   agreed that search terms 1-3 were relevant and proportional and that the

   Defendant would produce all emails that contained those terms from various Ocwen

   custodians, the list of which would be resolved by the parties independently.

   Accordingly, the Court need only consider the present Motion to Compel with regard

   to search terms 4-15.

         The Defendant objects to the production of email correspondence on two

   grounds: first, because the Plaintiff never requested that email correspondence in

   any request for production; and second, because even if the Court construes the

   Plaintiff’s other requests for production as necessarily including the requested email

   correspondence, the requests seek irrelevant information, are overly broad and not

   proportional to the needs of the case, and are prohibited by Federal Rule of

   Evidence 408 and the self-critical analysis privilege.

         In his reply brief, the Plaintiff agreed to reduce the scope of his request by

   limiting the search to the same custodians’ emails that were searched previously,

   and to remove search terms 4, 12, 13, and 14. (Dkt. 95 at 3). Thus, the Undersigned

   will only consider search terms 5-11 and 15 in this opinion. The Court will consider

   each of the Defendant’s objections in turn.




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         As an initial matter, the Court notes that it reviewed the cited Requests for

   Production, Nos. 22, 28, 29, 30, 31, 38, and 39, and concludes that the Plaintiff’s

   purported request for email correspondence related to the eight remaining search

   terms does not exist. While the Plaintiff is correct in stating that the Defendant had

   not previously lodged this specific objection, the issue is nevertheless properly

   before this Court – the Undersigned cannot compel production of documents

   pursuant to a request that does not exist. Even after being presented with the

   objection in Defendant’s response brief, the Plaintiff does not attempt to

   demonstrate to the Court how his requests for email correspondence on these search

   terms are subsumed within any of the other requests for production. Accordingly,

   the Plaintiff’s request to compel production of email correspondence for search

   terms 5-11 and 15 is DENIED.

         Even if the Court were to construe the listed Request for Productions as

   requests for email correspondence with the specified search terms, the Plaintiff’s

   motion would still be denied. The Plaintiff has likewise not demonstrated how the

   purported requests for email correspondence are relevant to the claims in this case.

   The Plaintiff spent many pages of his brief discussing the importance and relevance

   of the Risk Convergence Reports, but barely touches on the importance and

   relevance of the email correspondence with the specified search terms. Although the

   Court may venture a guess as to how search term 15, regarding bankruptcy

   compliance, may be relevant to this case, the Court cannot, without more



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   information, discern the relevance of search term 8, related to Motion for Relief

   from Stay affidavit errors, or of the remaining terms. The Defendant correctly

   points out that the Plaintiff has not established the relevance of the requested email

   correspondence with these search terms. The Plaintiff’s arguments related to the

   email correspondence are lacking in any specificity. This order shall not be

   construed, however, to prevent the Plaintiff from issuing further written discovery

   related to email correspondence.

         C. Sanctions

         Plaintiff’s Motion also asks the Court to impose sanctions on Ocwen for

   having to bring this motion. Under Federal Rule of Civil Procedure 37, if a motion

   to compel is granted “the Court must, after giving an opportunity to be heard,

   require the party or deponent whose conduct necessitated the motion . . . to pay the

   movant’s reasonable expenses incurred in making the motion, including attorney’s

   fees . . . [unless] the opposing party’s nondisclosure, response, or objection was

   substantially justified” or “other circumstances make an award of expenses unjust.”

         The Court notes initially that the Plaintiff only mentions sanctions twice in

   his motion: once in the title of the document and once in the opening paragraph.

   After that, the Plaintiff engages in no analysis and offers no explanation for why he

   deserves an award of attorney’s fees and expenses. Consequently, the Undersigned

   declines to impose sanctions at this time and the Plaintiff’s request is DENIED.




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         IV.Conclusion

         Accordingly, the Plaintiff’s Motion to Compel and for an Order Imposing

   Sanctions, Dkt. [66], is GRANTED IN PART and DENIED IN PART. The request

   for Risk Convergence Reports is GRANTED. The request for email correspondence

   is DENIED. The request for sanctions is DENIED.

         So ORDERED.



         Date: 1/30/2020




   Distribution:
   All ECF-registered counsel of record.




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